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11    UNITED STATES OF AMERICA

12
                              UNITED STATES DISTRICT COURT
13
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
      UNITED STATES OF AMERICA,                CR No. 22-394-DMG
15
                 Plaintiff,                    GOVERNMENT’S RESPONSE TO
16                                             DEFENDANT’S EX PARTE APPLICATION
                       v.                      TO STRIKE OR CONTINUE BRIEFING
17                                             SCHEDULE AND HEARING DATE
      YASIEL PUIG VALDES,
18                                             Hearing Date: July 5, 2023
                 Defendant.                    Hearing Time: 2:30 p.m.
19                                             Location:     Courtroom of the
                                                             Hon. Dolly M. Gee
20

21

22          Plaintiff United States of America, by and through its counsel
23    of record, the United States Attorney for the Central District of
24    California and Assistant United States Attorneys Jeff Mitchell and
25    Dan G. Boyle, hereby files it response to defendant Yasiel Puig
26    Valdes’ ex parte application to strike the government’s Motion for an
27    order finding defendant knowingly breached his plea agreement (the
28    “Motion”), ECF No. 110, or alternately, defendant’s request to
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2     continue the briefing schedule and hearing date on the Motion. See

3     ECF No. 116 (the “Application”).

4           This response is based upon the attached memorandum of points

5     and authorities, the files and records in this case, and such further

6     evidence and argument as the Court may permit.

7

8      Dated: June 13, 2023                Respectfully submitted,

9                                          E. MARTIN ESTRADA
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                                           MACK E. JENKINS
11                                         Assistant United States Attorney
                                           Chief, Criminal Division
12

13                                               /s/
                                           DAN G. BOYLE
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15
                                           Attorneys for Plaintiff
16                                         UNITED STATES OF AMERICA

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2                                      INTRODUCTION

3           More than seven months ago, the government moved to find

4     defendant in breach of his agreement to plead guilty in this action.

5     The parties agreed to carve out the discrete question of whether this

6     breach was “knowing” for future briefing, and the Court found that

7     defendant had breached his plea. After the Court denied defendant’s

8     motion for selective prosecution discovery and continued trial to

9     August 8, 2023, the government notified defense counsel by letter

10    that it intended to raise the knowing breach issue in advance of the

11    new trial date, and requested defendant’s position. The government

12    received no response to its letter and, after six weeks, filed a

13    motion for an order finding defendant knowingly breached his plea

14    agreement (the “Motion”). The government’s good-faith efforts to

15    raise this issue with defense were consistent with the parties’ prior

16    communications, and defendant’s failure to respond – even if the

17    result of an honest mistake – is no basis for striking the Motion.

18    The Court should deny the Application.
19                                      BACKGROUND

20          On July 7, 2022, defendant signed an agreement to plead guilty

21    to an information charging one violation 18 U.S.C. § 1001, which was

22    filed under seal on August 29, 2022. See ECF No. 6 (the “Plea

23    Agreement”).

24          On December 14, 2022, the government moved for a finding that

25    defendant had breached the Plea Agreement by failing to plead guilty

26    as agreed (the “Breach Motion”), which defendant opposed on December
27    28, 2022. See ECF No. 45. Defendant’s opposition to the Breach Motion

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1     requested that the Court not address the issue of whether any breach

2     by defendant was “knowing” – which could trigger admission of parts

3     of the Plea Agreement at trial – but also generally set forth

4     defendant’s theories of why no such knowing breach had occurred. See

5     ECF No. 45, at 7-9. In reply, the government agreed that the Court

6     did not need to address the issue of any knowing breach to rule on

7     the Breach Motion, and the Court did not reach this issue in granting

8     the Breach Motion. See ECF No. 51 at 3, n.2.

9           On April 20, 2023, the government sent a letter by e-mail to

10    defense counsel (specially, Ms. Axel and Mr. Nuno), which stated, in

11    relevant part, the following:

12          In compliance with the Court’s directive that counsel meet
            and confer and attempt to resolve issues prior to filing
13          any motion, the government advises you that it will seek to
            introduce the factual basis of Mr. Puig’s plea agreement
14
            (Dkt. No. 6) at the upcoming trial. I believe we already
15          met and conferred on this issue before we filed our Motion
            for Breach of Plea Agreement (Dkt. No. 33) and that you
16          stated that you would object to the introduction of such
            evidence. Please let me know if your position remains the
17          same or if you will stipulate to the admissibility
            of the factual basis.
18
19    See ECF No. 116-1, at 18-20 (the “April 20 Letter”).

20          The government did not receive any response to the April 20

21    Letter and, six weeks later, on June 1, 2023, the government moved

22    this Court for an order finding that defendant knowingly breached the

23    Plea Agreement. The Motion included the following certification:

24    “Pursuant to the Local Rules and the Court’s Individual Practices,

25    the undersigned sought to confer with defense counsel regarding the

26    content of this Motion by letter dated April 20, 2023, and sent by e-

27    mail on that date, but did not receive a response.” ECF No. 110.

28          Trial is presently set to begin on August 8, 2023, and the final
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1     pretrial conference is set for July 26, 2023. See ECF No. 105 (4/7/23

2     Order Continuing Trial).

3                                        ARGUMENT

4     I.    The Application To Strike Should be Denied

5           Defendant’s sole argument for seeking to strike the Motion is

6     that the government’s April 20 Letter purportedly failed to satisfy

7     L.R. 7-31 or the Court’s Criminal Trial Order setting forth the

8     parties’ obligations to attempt to resolve disputes prior to motion

9     practice. Defendant complained, in particular, that the letter

10    supposedly “did not even use the word ‘motion’ or ‘move’ but merely

11    indicated that [the government] intended to offer the factual basis

12    at trial.” ECF No. 116, at 5. This assertion is demonstrably untrue.

13    The very first sentence of the April 20 Letter stated as follows: “In

14    compliance with the Court’s directive that counsel meet and confer

15    and attempt to resolve issues prior to filing any motion . . .” See

16    ECF No. 116-1, at 19 (emphasis added). The April 20 Letter then went

17    on to explicitly reference the parties’ prior meet-and-confer

18    discussions on the topic, see id. (“I believe we already met and
19    conferred on this issue before . . . and that you stated that you

20    would object to the introduction of such evidence”), and requested

21    that defense counsel respond with defendant’s current position on the

22    matter. See id. (“Please let me know if your position remains the

23

24          1As the Court has recognized in prior orders, “the Court
      generally does not require the Local Rule 7-3 certification in
25    criminal motions” where a party substantially attempts to confer. See
      ECF No. 51, at 3. This holding is consistent with Local Criminal Rule
26    57-1, which states that the Local Civil Rules apply only “[w]hen
      applicable directly or by analogy” and where not in conflict with
27    other guidance from a Court in a criminal matter. See L. Crim. R. 57-
      1. The government respectfully submits that the Court’s Criminal
28    Trial Order governs here.
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1     same or if you will stipulate . . .”).

2           The government did not “send a vague letter into the email

3     ether” (App. at 5); it sent a letter to defense counsel specifically

4     requesting defendant’s position on a clearly identified and discrete

5     issue, which had previously been the subject of motion practice. This

6     process was also consistent with the way the government had raised

7     the earlier Breach Motion.2 It is difficult to see how counsel could

8     have understood the April 20 Letter – including the explicit

9     references to prior meet-and-confers and the Court’s pre-motion

10    guidance – as anything but a request for a response. Nonetheless,

11    defendant did not respond. When the government received no response

12    from the defense for more than a month, government counsel presumed

13    that defendant’s position had not changed from that stated at prior

14    meet-and-confer discussions on the issue, and thus, that the parties

15    remained at an impasse and a Court order would be required to resolve

16    the issue. In an abundance of caution, however, the government

17    noticed a hearing date more than a month from the date of filing,

18    which would provide defendant approximately two weeks to respond.
19          Defendant’s Application to strike is premised on an assumption

20    that, if the government had simply tried harder to confer, then

21    defense counsel may have responded and the parties could have agreed

22    on a filing schedule. See App. at 5 (“[T]he government never then

23    picked up the phone or sent a further email . . .”). Aside from being

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25          2The Court previously approved this process in connection with
      the Breach Motion, where the government sent notice to defense
26    counsel by letter. See ECF No. 51 at 3 (rejecting defendant’s
      argument that government had failed to comply with L.R 7-3, where
27    government had served a “letter from the Government advising
      Defendant of its intent to seek a finding that Defendant breached the
28    plea agreement”).
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1     speculative, this position is simply not supported by the Local Rules

2     or the Court’s individual practices. It is not incumbent on the

3     government to cajole defense counsel into responding to its

4     communications, and the government can reasonably presume that a

5     letter sent to counsel will be read, considered, and responded to.3

6     Cf. L.R. 37-2.4 (permitting motion practice where moving party

7     certifies that non-movant “failed to confer in a timely manner”).

8           To be clear, the government is not accusing defense counsel of

9     ignoring the April 20 Letter in bad faith. The government accepts

10    defense counsel’s representation that counsel simply misunderstood

11    the April 20 Letter as a “notice” letter which did not require a

12    prompt response – despite the explicit request for defendant’s

13    position and reference to the parties’ pre-filing obligations. See

14    ECF No. 116, at 5, n 2. Misunderstandings are a natural part of the

15    litigation process, and when defense counsel contacted the government

16    after the Motion was filed, the government offered to not to oppose a

17    brief extension of defendant’s time to respond to the Motion (as

18    detailed below). But counsel’s misunderstanding does not convert the
19    government’s good faith attempt to initiate a meet-and-confer into a

20    violation of either the Local Rules or this Court’s Criminal Trial

21    Order. The Application to strike the Motion should be denied.

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            3Nonetheless, the government regrets that this distraction is
26    now occupying the Court’s time and will endeavor to try and avoid
      such disputes in the future. The government hopes that the defendant
27    will similarly work to respond in a timely fashion when the
      government sends a communication explicitly requesting defense
28    counsel’s position on an issue.
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1     II.   The Application to Continue the Motion Hearing Date and
            Deadlines Should be Denied In Part
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            In addition to denying the Application insofar as it seeks to
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      strike the Motion, the Court should also deny defendant’s request to
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      continue the hearing date on the Motion and associated briefing
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      deadlines. However, the government has no opposition to an order
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      extending defendant’s time to oppose the Motion by one additional
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      week, to June 21, 2023, in order to accommodate defense counsel’s
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      personal travel. See App. at 6.
9
            As stated in the Motion, the government strongly believes that
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      the Motion raises issues which are best addressed well in advance of
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      trial, as they have the potential to affect all parties’ trial
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      strategy. Defendant’s proposed hearing date of July 19, 2023 would
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      have the Motion heard just one week before the final pretrial
14
      conference (see ECF No. 105), and less than two weeks before the
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      parties must disclose joint jury instructions and the government must
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      disclose its witness list, estimated trial length, expected cross-
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      examination, and potential legal and factual issues, all of which
18
      will require defendant’s input as well. See ECF No. 28 (Criminal
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      Trial Order), at 3. Defendant’s proposed extension would give the
20
      Court barely two weeks to consider this highly fact-specific issue,
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      including any privileged matters addressed in camera, and issue a
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      ruling which is likely to impact the parties’ trial strategies – all
23
      while the parties are preparing for trial and negotiating pretrial
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      filings. The government submits that the matters raised in the Motion
25
      should be addressed promptly to avoid potentially disrupting trial
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      preparation and the current trial date.
27
            The government has already agreed to accommodate certain issues
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1     raised by the defense. Defense counsel’s travel schedule can be

2     accommodated through a brief extension of defendant’s opposition

3     deadline to June 21, 2023, which would give defendant roughly 20 days

4     to respond to the Motion, nearly three times what the Court typically

5     affords in its Criminal Trial Order. See ECF No. 28, at 1 (Criminal

6     Trial Order). Defendant’s travel schedule, however, is not an

7     appropriate basis for continuing the hearing and can be accommodated

8     by his remote participation in any in camera inquiry to be held by

9     the Court. As neither the government nor the public would be involved

10    in any such in camera inquiry into privileged matters, any in camera

11    inquiry could be set at any date or time convenient for the Court,

12    including before or after the noticed hearing date. Indeed, it will

13    not be clear whether the Court will even need to conduct an in camera

14    inquiry until defendant sets forth his position. There is no need to

15    continue the hearing date for this reason.

16          Defendant’s assertion that he needs additional time to explore

17    undefined “factual and legal theories” relevant to the Motion is also

18    difficult to credit. See App. at 7. The government has no knowledge
19    of what defense counsel has submitted in camera, but without more

20    explanation, is it difficult for the government to see why an

21    extension is needed to respond to an issue first raised in the Breach

22    Motion in December of 2022, or how two additional weeks would give

23    defense counsel time to complete such an investigation when the

24    previous seven months were apparently insufficient.

25          Finally, counsel’s planned travel for the 4th of July holiday

26    weekend (App. at 8) simply does not justify a two-week continuance,
27    particularly with trial scheduled to begin just over one month later.

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1     At most, the holiday weekend would justify rescheduling the hearing

2     to another day and time the same week, at the Court’s convenience.

3                                        CONCLUSION

4           For the foregoing reasons, the government respectfully requests

5     that this Court deny the Application, but has no objection to

6     modifying the briefing schedule such that the deadline for

7     defendant’s response is continued from June 14, 2023 to June 21,

8     2023, and the government’s reply deadline is continued from June 21,

9     2023 to June 28, 2023, with the hearing remaining set for July 5,

10    2023.

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